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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION


In re:                                                            Chapter 11

AGILON ENERGY HOLDINGS II LLC, et al. 1,                          Case No. 21-32156 (MI)

                                    Debtors.
                                                                  Jointly Administered



                       COMMENT AND REQUESTS OF COMMITTEE RE
                          AMENDED DISCLOSURE STATEMENT



         The Committee submits the following comment and requests with respect to the Debtors’

Amended Combined Disclosure Statement and Joint Chapter 11 Plan (the “Disclosure

Statement”):

         1.       After the hearing last week on April 21, the parties have worked together to make

a number of consensual changes to the Disclosure Statement. The Committee has no further

comments to the Disclosure Statement itself.

         2.       On April 21, the Committee submitted to the parties a proposed Solicitation

Letter, attached hereto as Exhibit 1, that the Committee was requesting be sent out by the

Debtors along with the relevant plan related documents.

         3.       Today, Debtors sent an email to the Committee, attached hereto as Exhibit 2,

stating they “have no objection in principle” to the proposed Solicitation Letter, but further

stating the Committee “might consider revising it” as further set forth in its letter. The

Committee believes the Solicitation letter is appropriate as written, and hereby requests the Court

approve the attached Solicitation Letter.


1
 The debtors and debtors in possession in these chapter 11 cases, along with the last four digits of their respective
Employer Identification Numbers, are as follows: Agilon Energy Holdings II LLC (3389) (“Agilon”), Case No. 21-
32156; Victoria Port Power LLC (4894) (“VPP”), Case No. 21-32157; and Victoria City Power LLC (4169) (“VCP”),
Case No. 21-32158. The Debtors’ mailing address is: 5850 San Felipe, Ste. 601, Houston, Texas 77057.



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        4.       Finally, the Committee has informed the parties of its scheduling conflicts

regarding the setting of the Confirmation Hearing, and are presently attempting to work that out

consensually. If the parties cannot work that out consensually, the Committee requests the Court

to set the Confirmation Hearing for a date after June 20, 2022.

        WHEREFORE, the Committee respectfully requests the Bankruptcy Court to approve the

Solicitation Letter for the Debtors to send out as part of the Plan package, and to set the

Confirmation Hearing for a date after June 20, 2022 if the parties cannot work out a separate

mutually acceptable date.


                                                      Respectfully submitted,

 Dated: April 25, 2022                            By: /s/ Michael D. Warner
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                                                        -and-

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                                                      Counsel for the Official Committee of Unsecured
                                                      Creditors


                                CERTIFICATE OF SERVICE

       I hereby certify that on this 25th day of April, 2022, a true and correct copy of the above
and foregoing has been served on all parties that are registered to receive electronic transmission
through this Court’s CM/ECF filing system in these cases.

                                                     /s/ Michael D. Warner
                                                     Michael D. Warner




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